Case 15-11009-BFK    Doc 19   Filed 05/12/15 Entered 05/12/15 13:56:14   Desc Main
                              Document     Page 1 of 6


                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             Alexandria Division

In Re:

DANIEL ASIAMA                                 Case No. 15-11009-BFK
     Debtors                                          (Chapter 13)




               APPLICATION FOR A RULE TO SHOW CAUSE

     COMES NOW the debtor, DANIEL ASIAMA, by counsel, and applies

to this court for the entry of a Rule to Show Cause against SARA

LEE ASIAMA a/k/a SARA BANKS (hereafter respondent) and states as

follows:

     1.    The debtor filed a petition with this Court under Chapter

13 on March 25, 2015.

     2.    The clerk of the court sent the Notice of the

commencement of the case to all parties including the respondent

on March 29, 2015.     See Docket Item No. 6, and Exhibit A,

attached.

     3.    On the date this case was filed, the respondent had a

claim against the debtor for approximately $15,800.00 (hereafter

the ED Award) arising out of a Final Decree of Divorce entered on

August 6, 2008 in the Circuit Court of Fairfax County. A copy of

the order is attached as Exhibit B.

     4.    The claim arose out of a judgment awarded to the

respondent following an equitable distribution hearing and related

to a debt owed to a credit union for a 2000 Land Rover automobile

for which the respondent was liable.
Case 15-11009-BFK   Doc 19   Filed 05/12/15 Entered 05/12/15 13:56:14   Desc Main
                             Document     Page 2 of 6


     5.    The claim was not spousal support nor in the nature

thereof.

     6.    On December 29, 2014, the respondent applied to the

Circuit Court of Fairfax County for a Rule to Show Cause for the

debtor’s failure to pay the ED Award.

     7.    The hearing was continued for a number of times, until on

February 27, 2015 a Show Cause Order was entered against the

debtor, and a hearing was set for April 3, 2015. See Fairfax

Docket Sheet, Attached as Exhibit C.1

     8.    The debtor appeared pro se at the April 3rd hearing, and

handed the court a Suggestion of Bankruptcy, and further explained

that the continuation of the proceeding was a violation of the

automatic stay.     Nevertheless, the court found the debtor in civil

contempt and ordered him to pay the sum of $23,120.00 to the

respondent on or before May 1, 2015, and set the case for review

at 11:30 a.m. on that same day.        See Order of April 3, 2015,

attached as Exhibit E. At all points during the hearing the

respondent forcefully urged the court to disregard the bankruptcy

and force the debtor to pay her claim.

      9.    After the April 3rd hearing, the debtor sent the

respondent an email providing her his Bankruptcy Case Number. See

Exhibit F, attached.

      1
         For reasons which are not clear from the record, hearings
 in the case were set and reset several times between its initial
 filing and the hearing on April 3. It also appears that at one
 point, on January 23, 2015, an Order was entered by the Hon. Jane
 Marum Roush, directing the respondent to apply to this court for
 the modification of the debtor’s earlier Chapter 7 discharge in
 Case No.11-11968-SSM. See Exhibit D, Attached.

                                       2
Case 15-11009-BFK     Doc 19   Filed 05/12/15 Entered 05/12/15 13:56:14   Desc Main
                               Document     Page 3 of 6


     10.       On April 10, 2015, the debtor filed another Suggestion

of Bankruptcy with the Circuit Court along with a motion he had

drafted pro se to vacate the Court’s April 3rd order.              The motion

included a copy of the Section 314 Notice, a copy of his Schedule

F, listing the claim of the respondent, and a copy of the text of

11 U.S.C. 362.       See Exhibit G, attached.       The court sua sponte set

the debtor’s motion to vacate on the same docket as the continued

Show Cause hearing.

     11.       When the parties appeared on May 1, the judge asked if

the debtor had paid the money as directed in the in the Order of

April 3.       The debtor responded by again noting that he was in a

Chapter 13 proceeding, and was unable to pay the funds at once in

any event.       The respondent once more forcefully demanded that the

debtor be required to pay her claim and that the bankruptcy be

disregarded.

     12.       The court denied the debtor’s motion to vacate its

earlier order and had the debtor remanded into custody until such

time as he purged himself of contempt by paying the respondent’s

claim.       The court then set the matter for review on May 28, 2015.2

See Order and Amended order, Entered May 1, 2015 and May 4, 2015,

attached as Exhibit H.

     13.       While the debtor was incarcerated, his wife went to

extraordinary lengths to raise the money required for her

husband’s release, borrowing from her relatives, taking all she


         2
         It appears that this hearing may have been continued to
 May 29, 2015

                                         3
Case 15-11009-BFK   Doc 19   Filed 05/12/15 Entered 05/12/15 13:56:14   Desc Main
                             Document     Page 4 of 6


had from her own accounts, and finally borrowing over $8,500.00 at

15.9% interest from her credit union.         All of these measures have

seriously disrupted the household budget on which the debtor’s

Chapter 13 plan is based.

       14.   On May 4, 2015 the debtor’s wife paid $23,120.00 to the

court which then released the debtor, and on the following morning

paid the money over to the respondent.

       15.   As the result of the respondent’s acts, the debtor spent

four days in the Fairfax County Adult Detention Center.

       16.   On May 5, 2015, the respondent appeared at and

participated in the debtor’s Section 341 hearing.
       17.   Upon learning of the debtor’s bankruptcy filing, the

respondent had an affirmative duty to take all steps necessary to

stop the proceeding in Fairfax Circuit Court.

       18. On April 3, 2015, and afterward, the respondent had

actual notice of the debtor’s bankruptcy filing.

       19.   The respondent’s acts as described above constitute a

willful violation of the Automatic Stay provisions of 11 U.S.C.

362.
       20.   The acts of the respondent as described above have

caused the debtor and his family to suffer inconvenience,

embarrassment, annoyance, anguish, emotional distress, and has
forced them to incur lost time and effort; the debtor has suffered

the loss of his liberty for four days and has incurred additional

attorney’s fees, and costs; the debtor’s family has incurred large




                                       4
Case 15-11009-BFK   Doc 19   Filed 05/12/15 Entered 05/12/15 13:56:14   Desc Main
                             Document     Page 5 of 6


debts and debt payments which stress the family income and imperil

the performance of the debtor’s Chapter 13 plan.

     WHEREFORE the debtor prays that this Court

          (1) issue a Rule to Show Cause against SARA LEE ASIMA,

a/k/a SARA BANKS for her acts in violation of the stay and the

injunctive provisions of 11 U.S.C. 362, and why sanctions,

including an award of damages, both actual and punitive, and an

award of attorney’s fees should not be imposed upon her; and

          (2) declare the Orders entered by the Circuit of Fairfax

County on April 3, 2015 (Exhibit E), May 1, 2015 and May 7, 2015

(Exhibit G) to have been entered in violation of the injunctive

provisions of 11 U.S.C. 362, and therefore null and void; and

          (3) direct the respondent to immediately take such steps

as may be necessary to dismiss the proceeding against the debtor

now pending in the Circuit Court of Fairfax County; and

          (4) direct the respondent to immediately turn over to

the debtor the $23,120.00 paid to her as noted above; and

          (5) for such other and further relief as may be needed.



                                            DANIEL ASIAMA
                                            By counsel

/s/ Richard G. Hall
Richard G. Hall, Esquire
counsel for the Debtor
7369 Mcwhorter Place, Suite 412
Annandale, Virginia 22003
(703)256-7159
VAB No. 18076




                                       5
Case 15-11009-BFK   Doc 19   Filed 05/12/15 Entered 05/12/15 13:56:14   Desc Main
                             Document     Page 6 of 6



                      CERTIFICATE OF SERVICE
I hereby certify that on May 12, 2015 I mailed a copy of this
Application to the respondent, Sara Banks at 21672 Frame Square,
Ashburn, Virginia 20148.

                                             /s/ Richard G. Hall




                                       6
